EXHIBIT J
 1
                                                      FILED
 2                                        2024 JUN 13 11:16 AM
                                              KING COUNTY
 3                                       SUPERIOR COURT CLERK
                                                 E-FILED
 4                                       CASE #: 24-2-06473-7 SEA

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 7                     SUPERIOR COURT OF WASHINGTON FOR KING COUNTY
 8   FIRST FED BANK, a Washington state                 )
     commercial bank,                                   )   No. 24-2-06473-7 SEA
 9                                                      )
                                         Plaintiff,     )   STIPULATION AND ORDER OF
10                                                      )   DISMISSAL WITHOUT PREJUDICE
              v.                                        )
11                                                      )   [Clerk’s Action Required]
     DEREN FLESHER,                                     )
12                                                      )
                                       Defendant.       )
13                                                      )
14                                         I. STIPULATION
15            COMES NOW Plaintiff First Fed Bank, a Washington state commercial bank (“First
16   Fed”), appearing by and through its attorneys, Gregory R. Fox and Andrew G. Yates of Lane
17   Powell PC; and Defendant Deren Flesher (“Flesher”), appearing by and through his attorneys,
18   John T. Bender of Corr Cronin LLP; and on stipulation, the parties do hereby agree that the
19   lawsuit and any and all claims or actions between First Fed and Flesher in the above-captioned
20   action shall be dismissed without prejudice and without fees or costs to either party.
21            STIPULATED TO this 13th day of June, 2024.
22                                                    LANE POWELL PC
23

24                                                    By/s/Gregory R. Fox
                                                        Gregory R. Fox, WSBA No. 30559
25                                                      Andrew G. Yates, WSBA No. 34239
                                                      Attorneys for Plaintiff First Fed Bank
26

27
                                                                                  LANE POWELL PC
     STIPULATION AND ORDER OF DISMISSAL                                    1420 FIFTH AVENUE, SUITE 4200
     WITHOUT PREJUDICE - 1                                                          P.O. BOX 91302
                                                                              SEATTLE, WA 98111-9402
                                                                            206.223.7000 FAX: 206.223.7107
     134777.0022/9771588.2
 1            STIPULATED TO this 13th day of June, 2024.
 2                                             CORR CRONIN LLP
 3

 4                                             By/s/John T. Bender
                                                 John T. Bender, WSBA No. 49658
 5                                             Attorneys for Defendant Deren Flesher
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                                                                           LANE POWELL PC
     STIPULATION AND ORDER OF DISMISSAL                             1420 FIFTH AVENUE, SUITE 4200
     WITHOUT PREJUDICE - 2                                                   P.O. BOX 91302
                                                                       SEATTLE, WA 98111-9402
                                                                     206.223.7000 FAX: 206.223.7107
     134777.0022/9771588.2
 1                                      II. ORDER OF DISMISSAL
 2            THIS MATTER having come before this Court upon the stipulation of the parties for an

 3   order of dismissal without prejudice and without fees or costs to either party; and the Court being

 4   fully advised, now, therefore, it is hereby

 5            ORDERED that the lawsuit and any and all claims or causes of action between First Fed

 6   and Flesher in the above-captioned case are hereby dismissed without prejudice and without

 7   award of costs or fees to either party. It is further

 8            ORDERED that this case shall be closed.

 9            ENTERED this ___ day of June, 2024.

10

11                                                     JUDGE/COURT COMMISSIONER
     Stipulated and Agreed to;
12   Presented by:
13   LANE POWELL PC
14

15   By/s/Gregory R. Fox
      Gregory R. Fox, WSBA No. 30559
16    Andrew G. Yates, WSBA No. 34239
     Attorneys for Plaintiff First Fed Bank
17
     Stipulated and Agreed to;
18   Notice of Presentation Waived:

19   CORR CRONIN LLP

20
     By/s/John T. Bender
21      John T. Bender, WSBA No. 49658
     Attorneys for Defendant Deren Flesher
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                                                                                  LANE POWELL PC
     STIPULATION AND ORDER OF DISMISSAL                                    1420 FIFTH AVENUE, SUITE 4200
     WITHOUT PREJUDICE - 3                                                          P.O. BOX 91302
                                                                              SEATTLE, WA 98111-9402
                                                                            206.223.7000 FAX: 206.223.7107
     134777.0022/9771588.2
                             King County Superior Court
                          Judicial Electronic Signature Page

Case Number:         24-2-06473-7
Case Title:          FIRST FED BANK VS FLESHER

Document Title:      Order


Signed By:           Jonathon Lack
Date:                June 13, 2024




              Commissioner : Jonathon Lack




This document is signed in accordance with the provisions in GR 30.
Certificate Hash:           C5B04F858F4F5E635BAE2A3B8CA835ECC3D9F1D3
Certificate effective date: 5/31/2024 8:57:01 AM
Certificate expiry date:    5/31/2029 8:57:01 AM
Certificate Issued by:        C=US, E=kcscefiling@kingcounty.gov, OU=KCDJA,
                              O=KCDJA, CN="Jonathon Lack:
                              zPM9ymsN7xGzkhEHpjRXTQ=="


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